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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PATRICK CALHOUN, et al.,                            Case No. 20-cv-05146-YGR (SVK)
                                   8                   Plaintiffs,
                                                                                            ORDER RE PLAINTIFFS'
                                   9            v.                                          ADMINISTRATIVE MOTION TO SET
                                                                                            BRIEFING SCHEDULE FOR
                                  10    GOOGLE LLC,                                         OUTSTANDING DISCOVERY
                                                                                            DISPUTES
                                  11                   Defendant.
                                                                                            Re: Dkt. No. 673
                                  12
Northern District of California
 United States District Court




                                  13
                                              The Court is in receipt of Plaintiffs’ administrative motion to set a briefing schedule for
                                  14
                                       outstanding discovery disputes. Dkt. 673. Discovery in this matter closed on March 4, 2022, and
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                                       the last day to bring discovery motions was March 11, 2022. Civ. L.R. 37-3. No later than
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                                       NOON on May 27, 2022 Plaintiffs are to submit a supplemental administrative request not to
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                                       exceed 3 pages that sets forth the basis for bringing fact discovery disputes at this late date. The
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                                       supplemental request must also enumerate the disputes, as a proposed briefing schedule that fails
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                                       to identify the number of issues is meaningless. Defendant’s response to both Dkt. 673 and the
                                  20
                                       supplemental request, not to exceed 5 pages, shall be due May 31, 2022.
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                                              SO ORDERED.
                                  22
                                       Dated: May 26, 2022
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                                  25                                                                 SUSAN VAN KEULEN
                                                                                                     United States Magistrate Judge
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